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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA
                           NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                    §            MDL NO. 1873
FORMALDEHYDE                           §
PRODUCT LIABILITY LITIGATION           §            SECTION “N-5”
                                       §            JUDGE ENGELHARDT
THIS DOCUMENT IS RELATED TO:           §
                                       §
Roland Ayo, et al                      §
v. Jayco, Inc., et al                  §            MAG. JUDGE CHASEZ
Civil Action No. 09-4721               §

          ORDER ON PLAINTIFFS’, JARED FISHER AND JOHN GUNTHER,
          NOTICE OF VOLUNTARY DISMISSAL UNDER FRCP 41(a)(1)(A)(i)

      Considering the foregoing motion,

      IT IS HEREBY ORDERED that Plaintiffs’, JARED FISHER and JOHN

GUNTHER, Notice Hello
                of Voluntary
                      This is aDismissal
                                Test     is hereby, and in all things GRANTED.
                                    16th day of ____________________,
      New Orleans, Louisiana, this ____                August         2010.




                                       _____________________________
                                       HONORABLE KURT ENGELHARDT
